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                                 UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION

ST. LOUIS HEART CENTER, INC.,                   )
individually and on behalf of all others        )
similarly situated,                             )
                                                )
                  Plaintiffs,                   )       Cause No.
                                                )
v.                                              )       JURY TRIAL DEMANDED
                                                )
NOMAX, INC. and JOHN DOES 1-10,                 )       Removal of Cause No. 15SL-CC00433,
                                                )       St. Louis County Circuit Court
                  Defendants.                   )

                                      NOTICE OF REMOVAL

         Defendant Nomax, Inc. (“Nomax”), pursuant to 28 U.S.C. §§ 1331, 1441, and 1446,

hereby removes this action which has been pending as Cause No. 15SL-CC00433 in the Circuit

Court of St. Louis County, Missouri, to the United States District Court for the Eastern District

of Missouri, Eastern Division. In support of this Notice of Removal, Nomax states as follows:

I.       Procedural Removal Requirements Are Satisfied

         1.       Plaintiff St. Louis Heart Center, Inc. (“Plaintiff”) commenced this action by filing

a Class Action Petition (“Petition”) on February 6, 2015 in the Circuit Court of St. Louis County,

Missouri, Cause No. 15SL-CC00433 (the “State Court Action”).

         2.       Defendant’s registered agent was served with a copy of the Petition and summons

on February 24, 2015. Thirty days have not yet expired since this action became removable to

this Court. Thus, this matter is timely removed. 28 U.S.C. § 1446(b).

         3.       Pursuant to Rule 81-2.03 of the Local Rules of the United States District Court for

the Eastern District of Missouri, the complete file of the Circuit Court of St. Louis County,

Missouri, in this matter is attached to this Notice as Exhibit A.

         4.       A true and correct copy of the Petition is attached hereto in Exhibit A.


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         5.       No other pleadings or papers have been filed in this litigation.

         6.       Pursuant to Local Rule 3-2.02, Defendant is contemporaneously filing a

completed Civil Cover Sheet, an Original Filing Form, and a Disclosure of Organizational

Interests Certificate.

         7.       Concurrent with the filing of this Notice, Defendant is serving this Notice on

Plaintiff’s counsel and filing a copy of the Notice with the Clerk of the Circuit Court of St. Louis

County, Missouri. In accordance with Local Rule 81-2.03, Nomax will file proof of filing the

notice with the Clerk of the State Court and proof of service on all adverse parties.

         8.       The United States District Court for the Eastern District of Missouri, Eastern

Division, embraces the county in which the State Court Action is no pending. Therefore, venue

is proper for this action pursuant to 28 U.S.C. §§ 105(a)(1) and 1446(a).

         9.       By filing a Notice of Removal, Defendant does not waive any of its rights or

defenses.

II.      This Court Has Federal Question Jurisdiction

         10.      This Court has original jurisdiction over this action pursuant to 28 U.S.C. § 1331

because Plaintiff’s claims arise under federal law. Plaintiff alleges a cause of action that Nomax

violated the federal Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”). Petition,

at ¶¶31-50.

         11.      The United States Supreme Court, in Mims v. Arrow Financial Services, LLC,

stated that “because federal law creates the right of action and provides the rules of decision, . . .

a TCPA claim, in 28 U.S.C. § 1331’s words, plainly ‘aris[es] under’ the ‘laws . . . of the United

States.’” 132 S.Ct. 740, 748 (2012). The Supreme Court held that “Congress did not deprive

federal court of federal-question jurisdiction over private TCPA suits.” Id. at 747.




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         12.      Because Plaintiff’s claims include a federal question, this case is removable by

Nomax. 28 U.S.C. §§ 1441(a) and 1441(c).

         WHEREFORE, all of the requirements of 28 U.S.C. §§ 1331, 1441(a), and 1446 have

been satisfied, and Notice is hereby given that this action is removed from the Circuit Court of

St. Louis County, Missouri to the United States District Court for the Eastern District of

Missouri, Eastern Division.


DATED: March 24, 2015

                                               Respectfully submitted,

                                               CARMODY MacDONALD P.C.

                                               By:       /s/ Tina N. Babel
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                                               Attorneys for Defendant Nomax, Inc.



                                  CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 24th day of March, 2015, a true and correct
copy of this document was filed with the Court’s CM-ECF system and was sent by electronic
mail and U.S. Mail to:

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                                                         /s/ Tina N. Babel



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